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                                    9                              UNITED STATES DISTRICT COURT

                                   10                    NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE

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                                         ALEXANDRA ROSE RAISMAN, an                     Civil Case No. 5:18-cv-02479-BLF
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                                         individual.
                                   13
                                                      Plaintiff,                        [The Honorable Beth Labson Freeman]
                                   14
                                               v.                                  NOTICE OF PLAINTIFF ALEXANDRA
                                   15                                              ROSE RAISMAN’S NOTICE OF
                                         UNITED STATES OLYMPIC COMMITTEE, OPPOSITION AND OPPOSITION TO
                                   16    a Business Entity of form unknown; USA    DEFENDANT USA GYMNASTICS’ AND
                                         GYMNASTICS, an Indiana Business Entity of PAUL PARILLA’S CORRECTED
                                   17    Form Unknown; LARRY NASSAR, an            MOTION TO DISMISS PURSUANT TO
                                         individual, STEVE PENNY, an individual,   FRCP 12(b)(6) MEMORANDUM OF
                                   18    PAUL PARRILLA, an individual, and DOES POINTS AND AUTHORITIES
                                         1 through 500.
                                   19
                                                                                   Hon. Judge Beth Labson Freeman
                                                        Defendants.
                                   20                                              [Filed concurrently with Declaration of Alex E.
                                                                                   Cunny]
                                   21
                                                                                        Complaint filed: February 28, 2018
                                   22

                                   23
                                                                                        Judge:     Honorable Beth Labson Freeman
                                                                                        Courtroom: 6D
                                   24

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                                                                                    i
                                        NOTICE OF PLAINTIFF ALEXANDRA ROSE RAISMAN’S OPPOSITION TO USAG’S
                                                    MOTION TO DISMISS PURSUANT TO FRCP 12(b)(6)
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                                    1          TO THE COURT, ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

                                    2          PLEASE TAKE NOTICE that Plaintiff Alexandra Rose Raisman (the “Plaintiff”)

                                    3   hereby files the instant Opposition to Defendant USA Gymnastics’ (“USAG”) and Paul Parilla’s

                                    4   (“Parilla”) Motion to Dismiss made pursuant to Federal Rule of Civil Procedure 12b(6). The

                                    5   present Motion should be denied, as there are colorable claims supporting each of the causes of

                                    6   action that USAG and Parilla seek to dismiss. Specifically, the following legal and factual reasons

                                    7   indicate that this Motion should be denied, outright:

                                    8      1) Defendant USAG and Parilla’s challenge to California Civil Code § 51.9 (Sexual

                                    9          Harassment in a Defined Relationship) fails as a matter of law, given that it

                                   10          ignores the theory of “ratification,” which, under C.R. v. Tenet Healthcare Corp.

                                   11          (2009), 169 Cal.App.4th 1068, explicitly holds that a corporate entity can be a
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                                   12          proper party for a § 51.9 claim and an individual such as Parilla per the explicit
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                                   13          terms of the statute may be as well;

                                   14      2) The Complaint alleges sufficient facts to support an underlying cause of action for

                                   15          Intentional Infliction of Emotional Distress (IIED) that can be maintained against

                                   16          both Defendants USAG and Parilla;

                                   17      3) The claim for “Unfair Business Practices” under California Business &

                                   18          Professions Code (“BP&C”) § 17200 is properly maintained, considering that

                                   19          representations that Nassar was a fit doctor were knowingly untrue; USAG had

                                   20          knowledge that Nassar chronically violated codified USAG policies by entering
                                   21          the rooms of little girls without supervision and withheld this from athletes and

                                   22          their parents. USAG never warned these minor girls (or their parents) of such risks

                                   23          to which they were exposed, resulting in their abuse;

                                   24      4) Plaintiff’s claim under Masha’s Law (18 U.S.C. §2255) is proper, considering

                                   25          USAG’s strict responsibility for Nassar’s conduct under the theory articulated in

                                   26          Morton v. De Oliveira (9th Cir. 1993) 984 F.2d 289, 292. Indeed, given that
                                   27          USAG routinely transported the Plaintiff across the globe alongside Nassar,

                                   28          subjecting Plaintiff to repeated molestation, Morton’s reasoning should apply,

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                                        NOTICE OF PLAINTIFF ALEXANDRA ROSE RAISMAN’S OPPOSITION TO USAG’S
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                                    1            holding USAG and Parilla strictly responsible for such sexual abuse;

                                    2         5) The cause of action for “Breach of Fiduciary Duty” is proper against USAG and

                                    3            Parilla, as Defendants were in a “special relationship” with the Plaintiff, employed

                                    4            her to compete for USAG, and ultimately misrepresented Nassar as being a fit and

                                    5            safe physician, when he clearly was not and they knew such to be the case;

                                    6         6) The cause of action for Constructive Fraud (Civil Code § 1573) is proper against

                                    7            Defendants USAG and Parilla, given their inherent fiduciary relationship with

                                    8            Plaintiff, and these Defendants’ misrepresentation regarding the danger into which

                                    9            the Plaintiff was routinely placed;

                                   10         7) Allegations predicated on a theory of negligence per se are proper against USAG,

                                   11            via the willful inaction of its agents, who are mandated reporters (under California
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                                   12            Penal Code § 1165.7) and thus required to report suspected child sexual abuse.
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                                   13            Under Searcy v. Auerbach (9th Cir. 1992) 980 F.2d 609, a mandated reporter can

                                   14            be held civilly liable for its failures to report, which is precisely why USAG,

                                   15            through its agents, is liable under this provision;

                                   16         8) The Negligent Failure to Warn, Train, or Educate cause of action is proper, as

                                   17            USAG had advance warning of Nassar’s abusive behavior; however, Defendants

                                   18            USAG and Parilla did nothing to intervene or otherwise prevent further abuse of

                                   19            Plaintiff, even simply informing the Plaintiff (and/or her parents) of the risks posed

                                   20            to her by Nassar and other personal at USAG;
                                   21         9) The prayer for Injunctive Relief is proper, given the applicability of B&PC §17200

                                   22            and Injunctive Relief’s status as a listed remedy under the statute;

                                   23         10) Defendants USAG and Parilla engaged in “malice,” “oppression,” and “fraud,” as

                                   24            alleged in Plaintiff’s Complaint; thus, the claims for punitive damages are proper

                                   25            against both Defendant USAG and Defendant Parilla;

                                   26   ///
                                   27   ///

                                   28   ///

                                                                                           iii
                                        NOTICE OF PLAINTIFF ALEXANDRA ROSE RAISMAN’S OPPOSITION TO USAG’S
                                                    MOTION TO DISMISS PURSUANT TO FRCP 12(b)(6)
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                                    1                       MEMORANDUM OF POINTS AND AUTHORITIES

                                    2                                           I. INTRODUCTION

                                    3          This case arises from the serial molestation, harassment, and sexual abuse of Plaintiff

                                    4   Alexandra Rose Raisman (“Plaintiff”), a three-time Olympic gold medalist, while competing for

                                    5   her country. Plaintiff endured repeated molestation by the USA Gymnastics’ (“USAG”) team

                                    6   physician, now-former Dr. Larry Nassar (“Nassar”), while Defendant Paul Parilla (“Parilla”)

                                    7   served as the Board Chairman of USAG. During Plaintiff’s participation on behalf of her country,

                                    8   while being flown around the world alongside Nassar by USAG, neither USAG nor its Board

                                    9   ever warned Plaintiff of the foreseeable dangers posed to her by Nassar, nor did they

                                   10   meaningfully address the systemic problem of child molestation.

                                   11          As early as 1999, USAG knew about the risks posed to minors participating in the sport of
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                                   12   gymnastics, the shortcomings of its own internal review processes for identifying and eradicating
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                                   13   abusers given easy access to minors, and systemic problems in protecting children. Moreover,

                                   14   specifically to Plaintiff’s abuser, USAG knew that Nassar would seclude gymnasts at campus and

                                   15   events, alone (in violation of USAG policy and procedure), where he had carte blanche

                                   16   permission to perform any sort of medical treatment he chose. In the case of Nassar, this included

                                   17   sexually abusive medical treatments in confined areas. Moreover, USAG permitted Nassar to

                                   18   practice medicine at the Karolyi Ranch (“the Ranch”) without a Texas medical license, and in the

                                   19   absence of any system for monitoring USAG medical personnel, including physicians. Nassar is

                                   20   believed to have been censured by USAG for taking an inordinate number of photographs of
                                   21   minor girls, though this fact was never disclosed to Plaintiff or her parents. These facts, as further

                                   22   explored below, specifically and conclusively illustrate Plaintiff’s Complaint is properly pleaded

                                   23   and that each cause of action is supported by well-pleaded facts.

                                   24                                     II. FACTUAL BACKGROUND

                                   25   A.     PLANTIFF RAISMAN AND HER SEXUAL ABUSE BY LARRY NASSAR.

                                   26          The Plaintiff attended national and international competitions on behalf of USAG in
                                   27   locations that include but are not limited to: Santa Clara County, California; the “Karolyi Ranch”

                                   28   in Huntsville, Texas; other locations across the U.S.; and elite competition sites spanning the

                                                                                         1
                                          PLAINTIFF ALEXANDRA ROSE RAISMAN’S OPPOSITION TO USAG’S MOTION
                                                         TO DISMISS PURSUANT TO FRCP 12(b)(6)
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                                    1   globe, such as Japan, Australia, the United Kingdom, and the Netherlands. Complaint (“Compl.”),

                                    2   ¶5,37, Exhibit “1” to Declaration of Alex E. Cunny (“Cunny Decl.”). These events were hosted,

                                    3   sanctioned, supervised, and/or endorsed by, under the supervision of, chartered, and/or under the

                                    4   mandate of USAG, among other defendants. Id. at ¶¶1,5,17-20,37,40. Plaintiff was molested by

                                    5   Nassar at these locations. Id. The molestations occurred serially, and could have been prevented if

                                    6   Defendants upheld their duties. Id. at ¶¶1-2,19-21,41,45-46.

                                    7           Plaintiff was a participant, USAG member, and patient under Nassar, who operated under

                                    8   the direct supervision and control of Defendants USAG and Parilla. Id. at ¶¶1-2. Through his

                                    9   position as team physician, Nassar interacted with Plaintiff under the guise of providing care and

                                   10   treatments necessary for her to compete as an Olympian. Under these circumstances, Nassar

                                   11   placed his bare, ungloved hand on and in Plaintiff’s unclothed groin area, on multiple occasions,
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                                   12   in Plaintiff’s assigned living quarters, without any supervision. Id. at ¶¶1-2,37(a)-(c). Further,
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                                   13   NASSAR, on numerous occasions, had an erection—a bulge in his pants—while performing the

                                   14   treatments he claimed to be medical. Id. at ¶37(c). NASSAR’s molestation of the Plaintiff

                                   15   occurred at training facilities, in hotels, in gyms, and in living quarters. Id. at ¶37(b).

                                   16   B.      NASSAR AND HIS HISTORY OF ABUSE OF MINORS.

                                   17           As early as 1999, USAG’s Board of Directors were aware of the inadequacies of USAG

                                   18   safety policies and procedures, as detailed by a letter to the USOC by then-USAG President Bob

                                   19   Colarossi. Compl. at ¶44, Ex. “A” to Compl. He noted that the safety procedures followed by

                                   20   USAG were part a “fundamentally flawed process” amidst an “apparent indifference to the
                                   21   welfare of young children manifest in the Committee’s actions.” Id., Ex. “A” to Compl. as the

                                   22   Letter from Robert Colarossi to USOC. Defendants knew of, or should have known of, Nassar’s

                                   23   propensity and disposition to engage in sexual misconduct with minors before he sexually abused

                                   24   Plaintiff, and knew of the probability that Nassar would molest minor athletes with whom he

                                   25   came into contact (including taking excessive photographs of young girls). Id. at ¶¶45,47-48.

                                   26   Moreover, Plaintiff alleges that Nassar was repeatedly censured, disciplined, and/or reprimanded
                                   27   by Defendants, for taking an inordinate number of photographs of young girls, who were

                                   28   ///

                                                                                           2
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                                    1   gymnasts. Id. at ¶48. This conduct wasn’t further investigated or reported to law enforcement, and

                                    2   was never communicated to Plaintiff or her family. Id.

                                    3   C.     DEFENDANTS USAG AND PARILLA’S RELATIONSHIP WITH NASSAR.

                                    4          Plaintiff is informed and alleges that USAG hired Nassar onto its staff as a trainer in

                                    5   1986, followed by National Medical Director and the National Team Physician for the women’s

                                    6   gymnastics team in 1996. Compl., ¶24, Ex. “1”. Nassar was also responsible for coordinating the

                                    7   care for USAG’s participants and members at every national and international competition; in

                                    8   doing so, Nassar would routinely travel to competitions and provide “medical services” in his

                                    9   capacity as team physician. Id. Nassar operated in this role until mid-2015. Id.

                                   10          During these trainings and competitions—in or around 2010, through in or around 2012,

                                   11   and in 2015—Nassar molested and sexually abused Plaintiff. Compl., ¶¶1-2,37. Defendant Parilla
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                                   12   served as Board Member of USAG from in or around 1999, and as Board Chairman from in or
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                                   13   around 2015 to January 2018. Id. at 23. As such, Plaintiff is informed, believes, and, on that basis,

                                   14   alleges that Parilla oversaw a wide-ranging, calculated, concealment of numerous instances,

                                   15   complaints, and allegations of sexual abuse and misconduct among participants and members of

                                   16   Defendant USAG. Id. Plaintiff is informed, believes, and alleges that Parilla’s actions and

                                   17   inactions enabled and ratified, in particular, Nassar’s sexual abuse of Plaintiff and fueled the

                                   18   ongoing concealment of abuse at USAG. Id.

                                   19          While a team physician at Defendant USAG, Nassar’s duties included coordinating the

                                   20   care for Defendant USAG at every national and international competition, providing individual
                                   21   care and providing for the physical needs and well-being of participants and members of

                                   22   Defendant USAG (and in accord with Defendant USOC policies, procedures, and mandates), and

                                   23   care including but not limited to osteopathic adjustments and kinesiology treatment to participants

                                   24   and members of Defendant USAG, which included Plaintiff. Id. at ¶24. Plaintiff was a participant

                                   25   and member of Defendant USAG, and it is under these circumstances that Plaintiff Raisman came

                                   26   to be under the direction and control of NASSAR, who, as described above, used his position of
                                   27   authority and trust to molest and sexually abuse Plaintiff. Id. at ¶¶1-2,4-5.

                                   28   ///

                                                                                          3
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                                    1   D.     DAMAGES SUFFERED BY THE PLAINTIFF AND CAUSED BY DEFENDANTS.

                                    2          Plaintiff endured serial molestation and sexual abuse by her confidant and physician under

                                    3   the supervision of the entities which bore direct financial success and notoriety from her hard-

                                    4   fought Olympic medal victories. Compl., ¶3, Ex. “1”. To this day, Plaintiff continues to suffer

                                    5   form depression, anxiety, and fear, emanating from her abuse at the hands of Nassar. Id. The

                                    6   psychological ramifications of this abuse affect her daily life, including but not limited to Plaintiff

                                    7   not trusting medical professionals, not trusting adult males, and constantly suffering from fear,

                                    8   anxiety, and depression. Id. Alongside the mental and physical trauma, Plaintiff visited Nassar in

                                    9   the hopes of addressing legitimate medical concerns, while Nassar prioritized his own sexual

                                   10   gratification over administering care. Id. at ¶¶2-3, 38,63. As a result, Plaintiff trained for years in

                                   11   pain, believing that her physician was properly treating the physical ailments associated with
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                                   12   gymnastics. Id. at ¶3. From a young age, Plaintiff always carried guilt for thinking Nassar was
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                                   13   “weird,” and she questioned why she did not like the purportedly best gymnastics doctor in the

                                   14   world, although she did not understand at the time that this “treatment” was sexual abuse. Id.

                                   15   Upon learning that this “treatment” served as merely a context for recurrent molestation, Plaintiff

                                   16   suffered further guilt, shame, and disgust. Id. Furthermore, having been one of the world’s most

                                   17   famous gymnasts, Plaintiff lost millions of dollars in economic damages, resulting from her

                                   18   sexual abuse, a loss which continues to this day. Id. at ¶58.

                                   19   E.     USAG’S CONCEALMENT OF SYSTEMIC SEXUAL ABUSE BY NASSAR.
                                   20          The bylaws of Defendants USAG, or similar bylaws previously enacted, were made in
                                   21   conformity with broader mandates for Defendant USOC and the protection of minor athletes.

                                   22   Compl., ¶¶19-20, Ex. “1”. These bylaws were intended to protect minor gymnasts, including

                                   23   Plaintiff, from the ravages of sexual abuse, molestation and harassment endemic to the sport of

                                   24   gymnastics and address a known, foreseeable, and palpable risk posed to minor gymnasts in

                                   25   particular. Id. Nevertheless, despite these bylaws, rules, policies, and procedures—and their

                                   26   transparent purpose of protecting minor athletes—Defendants USAG and Parilla never audited or
                                   27   checked to confirm the efficacy of these policies, verify their implementation, or insure

                                   28   conformance with the applicable standard of care. Id. at ¶¶19-20,23.

                                                                                          4
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                                    1          Moreover, USAG and Parilla concealed Nassar’s chronic abuse and the lax supervision

                                    2   under which he operated. Id. at ¶¶19-20,23,37. Plaintiff, a minor throughout most of her

                                    3   molestations, had no meaningful institutional means to protect herself against Nassar’s predation.

                                    4   Id. In concealing such risks, concerns, and issues with Nassar, USAG was permitted to continue

                                    5   operating as a National Governing Body (“NGB”) without censure from civil, criminal, or

                                    6   administrative authorities. Id. at ¶48. Because of the relationship between Plaintiff and

                                    7   Defendants, Defendants had an obligation and duty under the law not to hide material facts and

                                    8   information about Nassar’s past, and his deviant sexual behavior and propensities. Id. at ¶49.

                                    9   Additionally, Defendants had an affirmative duty to inform, warn, and institute appropriate

                                   10   protective measures to safeguard minors who were reasonably likely to come in contact with

                                   11   Nassar, including Plaintiff at the time. Id. at ¶19-20,55. Defendants willfully refused to notify,
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                                   12   give adequate warning and implement appropriate safeguards, thereby creating the peril and
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                                   13   ultimately damaged Plaintiff. Id. at ¶55.

                                   14   F.     USAG AND PARILLA STANDING IN LOCO PARENTIS TO THE PLAINTIFF
                                               AND THEIR “SPECIAL RELATIONSHIP”.
                                   15          During Plaintiff’s competitions and trainings, Defendants took custody and control of
                                   16   Plaintiff, a minor gymnast, filling the role usually held by one’s parents. USAG and Parilla
                                   17   accepted a duty to protect Plaintiff from foreseeable dangers, like abuse, and quickly investigate,
                                   18   censure, discipline, and/or remove threats to her well-being. Compl., ¶¶23,44. This custodial
                                   19
                                        relationship is known as “in loco parentis,” where an entity involving children and its employees
                                   20   stand “in the place of the parents.” Black’s Law Dict. (3d. Pocket Ed. 1996), p.359, col.2.
                                   21                                          III.   ARGUMENT
                                   22
                                        A.     A MOTION TO DISMISS CAN ONLY BE GRANTED IF IT APPEARS “BEYOND
                                   23          DOUBT” THAT NO SET OF FACTS CAN BE ALLEGED TO STATE A CLAIM.
                                               FRCP 12(b)(6) provides that, “[e]very defense to a claim for relief in any pleading must
                                   24
                                        be asserted in the responsive pleading if one is required. But a party may assert the following
                                   25
                                        defenses by motion: … (6) failure to state a claim upon which relief can be granted…” “The
                                   26
                                        function of a motion to dismiss is to test the law of a claim, not the facts which support it.” Niece
                                   27
                                        v. Sears, Roebuck & Co. (N.D. Okla. 1968) 293 F.Supp. 792, 794. “Such motions, it must be
                                   28

                                                                                         5
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                                    1   remembered, have been characterized as ‘mere formal motions directed only to the face of the

                                    2   complaint.' As a general rule, they are not favored and should be granted sparingly and with

                                    3   caution only where it appears to a certainty that no set of facts could be proven at trial which

                                    4   would entitle a plaintiff to any relief.” Dann v. Studebaker-Packard Corp. 288 F.2d 201, 215–16

                                    5   (6th Cir. 1961) disapproved of on other grounds by J. I. Case Co. v. Borak (1964) 377 U.S. 426.

                                    6   “And in furtherance of this policy it has recently been declared to be ‘the accepted rule that a

                                    7   complaint should not be dismissed for failure to state a claim unless it appears beyond doubt

                                    8   that the plaintiff can prove no set of facts in support of his claim which would entitle him to

                                    9   relief.” U.S. v. Frank B. Killian Co. 10 O.O.2d 40 (6th Cir. 1959). Here, the Plaintiff’s well-

                                   10   pleaded allegations are to be accepted as true, and the complaint is to be liberally construed by the

                                   11   Court. Under this standard, the Plaintiff each cause of action has been sufficiently pleaded.
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                                   12   B.     DEFENDANTS USAG AND PARILLA WERE IN A “SPECIAL RELATIONSHIP”
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                                               WITH PLAINTIFF, CONFERRING ONTO THEM A DUTY TO PROTECT
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                                   13          PLAINTIFF FROM REASONABLE AND FORESEEABLE DANGERS.
                                   14          Although USAG and Parilla deflect their responsibility in this matter, one thing is clear:

                                   15   “[g]enerally, a greater degree of care is owed to children because of their lack of capacity to

                                   16   appreciate risks and avoid danger. ([Citation omitted].) Consequently, California courts have

                                   17   frequently recognized special relationships between children and their adult caregivers that

                                   18   give rise to a duty to prevent harms caused by the intentional or criminal conduct of third

                                   19   parties.” Juarez v. Boy Scouts of America, Inc. (2000) 81 Cal.App.4th 377, 410 [emphasis

                                   20   added]. The Court in Juarez explains the various relationships where a special duty exists,
                                   21   including preschools, a school district to a mother of a student, and wife of sex offender who had

                                   22   children play at their home. Id. at 410. This custodial relationship is known as “in loco parentis,”

                                   23   where an entity stands “in the place of the parents.” Black’s Law Dict. (3d. Pocket Ed. 1996),

                                   24   p.359, col.2. The Court enunciated the duties of care owed to minors:

                                   25          “…California law has long imposed on school authorities a duty to ‘supervise
                                               at all times the conduct of the children on the school grounds and to enforce
                                   26          those rules and regulations necessary to their protection. [Citations.]’
                                               [Citations.] … Either a total lack of supervision [citation] or ineffective
                                   27          supervision [citation] may constitute a lack of ordinary care on the part of those
                                               responsible for student supervision.” C.A. v. William S. Hart Union High School
                                   28          Dist. (2012) 53 Cal.4th 861 [Emphasis Added].

                                                                                         6
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                                    1          The case of USYSA compromises USAG and Parilla’s arguments that no such duty exists

                                    2   between them and Plaintiff. USYSA involved a minor soccer member who participated in soccer

                                    3   programs with a national organization. Doe v. United States Youth Soccer Association, Inc.

                                    4   (USYSA) (2017) 8 Cal.App.5th 1118. In USYSA, the court stated: “[i]n sum, we conclude that, as

                                    5   in Juarez, there was a special relationship between defendants and plaintiff… [h]ere, plaintiff

                                    6   was a member of U.S. Youth Soccer Association (“U.S. Youth”) and played on a West Valley

                                    7   team, which was the local affiliate of U.S. Youth and Cal North. West Valley was required to

                                    8   comply with the policies and rules of U.S. Youth. Since U.S. Youth established the standards

                                    9   under which coaches were hired, U.S. Youth determined which individuals, including [the

                                   10   perpetrator], had custody and supervision of children involved in its programs.” Id. Even while

                                   11   articulating the existence of a “special relationship” between USYSA and the plaintiff, the court
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                                   12   expressly found “… nothing in the present record indicating that defendants were in any way
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                                   13   involved in the sexual assault of plaintiff or knew that Fabrizio would harm her.” Id. at 1137.

                                   14   Nevertheless, the Court still held that USYSA stood in loco parentis to these children.

                                   15          Here, the presence of a special relationship is indisputable, as the control exerted by

                                   16   Parilla and USAG far outpaces the control of the defendants in USYSA. Plaintiff was routinely

                                   17   flown across the nation and world at the direction of USAG, staying in hotels without her parents,

                                   18   and living completely under the control of USAG officials tasked to supervise her. Compl., ¶¶1-2,

                                   19   37, Ex. “1”. The control USAG exerted over the Plaintiff was extreme, and, moreover, there

                                   20   were prior warnings about Nassar (e.g., photographs of gymnasts, violation of safety policies,
                                   21   being in rooms alone with minor girls, unfettered access to minor gymnasts). Id. at ¶¶37,45,47-48.

                                   22   Plaintiff also pleads that USAG and Parilla knew or should have known that Nassar violated

                                   23   policies crafted in recognition of the particular dangers posed to minor athletes within

                                   24   gymnastics. Therefore, there is a “special relationship” between the Plaintiff and Defendants.

                                   25   C.     THE CAUSE OF ACTION FOR SEXUAL HARASSMENT (C.C. §51.9) IS
                                               PROPER AGAINST USAG AND PARILLA.
                                   26
                                               USAG maintains that a sexual harassment claim under C.C. § 51.9 “provides no basis to
                                   27
                                        hold anyone but the harasser liable.” Motion, 7: 23. However, this is a misleading statement.
                                   28

                                                                                        7
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                                    1   Even in the absence of vicarious liability, a corporate entity can be held liable for sexual

                                    2   harassment. C.R. v. Tenet Healthcare Corp. (2009) 169 Cal.App.4th 1094, 1110, litigated a

                                    3   defendant corporation’s similar attempt to contort the language of C.C. § 51.9 to skirt liability:

                                    4            Defendant argues that because it is a business, as opposed to an individual, it
                                                 cannot be liable for the sexual abuse of plaintiff. Defendant relies on the language
                                    5            in section 51.9, subdivision (a) which states “a person is liable” for sexual
                                                 harassment. Thus, defendant argues, because it is a corporation, it cannot be liable
                                    6            under the provisions of section 51.9 for sexual abuse. This contention has no
                                                 merit. C.R., 169 Cal. App. 4th at 1110 [emphasis added].
                                    7
                                                 Nonetheless, there are two avenues by which to hold a corporation liable for the acts of its
                                    8
                                        agents: respondeat superior and ratification. Ratification is:
                                    9
                                                 [A]s an alternate theory to respondeat superior, an employer may be liable for an
                                   10            employee's act where the employer either authorized the tortious act or
                                                 subsequently ratified an originally unauthorized tort. … The theory of ratification
                                   11            is generally applied where an employer fails to investigate or respond to charges
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                                                 that an employee committed an intentional tort, such as assault or battery.
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                                   12            Whether an employer has ratified an employee's conduct is generally a
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                                                 factual question. C.R, 169 Cal. App.4th at 1110 [emphasis added].
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                                   13
                                                 The original tort need not be “within the course and scope of business,” nor need it even
                                   14
                                        have been an expressly “authorized” action. Murillo v. Rite Stuff Foods, Inc. (1998) 65
                                   15
                                        Cal.App.4th 833, 852. “If the employer, after knowledge of or opportunity to learn of the
                                   16
                                        agent's misconduct, continues the wrongdoer in service, the employer may become an abettor
                                   17
                                        and may make himself liable in punitive damages." Id. [emphasis added]. In C.R., a nursing
                                   18
                                        facility hired an employee who worked with patients. Despite repeated complaints, the hospital
                                   19
                                        took no action against the perpetrator and, in essence, “condoned and ratified his actions by
                                   20
                                        allowing him to continue working despite the repeated acts of sexual harassment…” Id. Under
                                   21
                                        C.R., Defendants can be held liable for its ratification of Nassar’s acts of sexual harassment and
                                   22
                                        abuse, as Nassar was pleaded as an agent of USAG, and, further, that USAG had knowledge that
                                   23
                                        he was an abuser but, allowed him to remain in secluded contact with Plaintiff and other young
                                   24
                                        gymnasts. Compl., ¶37, Ex. “1”. USAG engaged in active concealment, failing to inform Plaintiff
                                   25
                                        that Nassar was a molester and, destroying records at the Karolyi Ranch. Compl., ¶47-48, Ex.
                                   26
                                        “1”.1 These allegations sufficiently show Defendants’ ratification of Nassar’s conduct.
                                   27
                                        1
                                   28    This is developing information that has only recently been discovered regarding the destruction
                                        of records, which can, if leave is granted, be added to fortify the Complaint. Cunny Decl., ¶3.
                                                                                          8
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                                    1              1. The Complaint Provides Sufficient Factual Support for its Claims Against
                                                      USAG and Parilla to Satisfy Ashcroft v. Iqbal and, FRCP 8.
                                    2
                                               USAG and Parilla allege that Plaintiff fails to provide the mandatory factual support for
                                    3
                                        its claim that USAG ratified Nassar’s conduct. Motion, 8: 12-18. Defendants argue that Plaintiff’s
                                    4
                                        Complaint “fails to identify any instance where USAG was purportedly informed of Nassar’s
                                    5
                                        misconduct prior to or during plaintiff’s timeframe of abuse, [and as such] USAG could not have
                                    6
                                        ratified his actions.” Motion, 9:16-18. However, neither the pleading standards of Iqbal v.
                                    7
                                        Ashcroft (2009), 129 U.S. 1937, nor FRCP 8 itself ever task the Plaintiff with cataloguing every
                                    8
                                        actionable exchange between Plaintiff and Defendants. Such a heightened standard would, in
                                    9
                                        essence, render discovery moot. Instead, Iqbal states, in relevant part, “[t]o survive a motion to
                                   10
                                        dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim
                                   11
                                        to relief that is plausible on its face’” Id. at 1950 [Emphasis added]. USAG had safety policies
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                                        and procedures that both articulated the heightened risk of abuse within gymnastics and also
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                                   13
                                        admonished USAG personnel to refrain from unsupervised, one-on-one contact with minor
                                   14
                                        athletes. Compl., ¶¶19-20,55. Nassar’s ability to rampantly violate these policies, across trainings
                                   15
                                        and competitions spanning the planet, is a pleaded fact. Id. at ¶37. USAG and Parilla either
                                   16
                                        willfully turned a blind eye to Nassar’s activities, despite policies to the contrary, or they knew
                                   17
                                        about Nassar’s actions and did nothing. Id. at ¶¶20,23. Either scenario is plausible, supported by
                                   18
                                        sufficiently pled facts, and warrants claim to relief under Iqbal and FRCP 8. Furthermore,
                                   19
                                        Plaintiff’s well-pled allegations are to be accepted as true, and the Complaint is to be liberally
                                   20
                                        construed by the Court. Frank B. Killian Co., supra, 10 O.O.2d 40. Under this standard, each
                                   21
                                        cause of action is sufficiently pleaded, and sufficiently supported by those pleaded facts.
                                   22
                                        D.     THE CAUSE OF ACTION UNDER “MASHA’S LAW” IS PROPER UNDER the
                                   23          HOLDING OF MORTON v. DE OLIVEIRA (9TH CIR. 1993) 984 F.2D 289.

                                   24          U.S.C. § 2255 (“Masha’s Law”) provides:

                                   25          “[a]ny person who, while a minor, was a victim of a violation of section 1589, 1590, 1591,
                                               2241(c), 2242, 2243, 2251, 2251A, 2252, 2252A, 2260, 2421, 2422, or 2423 of this title
                                   26          and who suffers personal injury as a result of such violation, regardless of whether the
                                               injury occurred while such person was a minor, may sue in any appropriate United States
                                   27          District Court and shall recover the actual damages such person sustains or liquidated
                                               damages in the amount of $150,000, and the cost of the action, including reasonable
                                   28          attorney's fees and other litigation costs…” U.S.C.A. § 2255 [emphasis added].

                                                                                         9
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                                    1            Specifically, Plaintiff suffered violations under §§2423(b) and §§2423(c) resulting from

                                    2   her molestation by Nassar that occurred internationally, during travel orchestrated by USAG.

                                    3   Compl., ¶¶72-74, Ex. “1”. USAG and Parilla make two unavailing arguments to avoid liability:

                                    4            1. The Court Should Apply Celebrity Cruises, as USAG Transports Minors across
                                                    International Boundaries, and is Responsible for their Safety While Doing So.
                                    5            USAG and Parilla briefly reference Doe v. Celebrity Cruises, Inc., 394 F.3d 891,894 (11th
                                    6   Cir. 2004) and summarily state that it “does not apply in this case…” Motion, 12:17-18.
                                    7   Defendants take a narrow view of Celebrity Cruises, lacking substantive analysis, and assert that
                                    8   the case only applies to “circumstances [of]… maritime law.” Motion, 12:11-17. USAG
                                    9   misinterprets the analysis, which is drawn from the case’s own language. In Celebrity Cruises, the
                                   10   Court addressed the issue of a “common carrier” and, in determining its definitional scope,
                                   11   analyzed the Ninth Circuit case of Morton v. De Oliveira (9th Cir. 1993) 984 F.2d 289. As a
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                                        result, the Court upheld strict liability for a cruise ship:
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                                   13            In Morton, the plaintiff was alone in her cabin when a crew member delivered
                                                 wine and raped her. The plaintiff sued, asserting “absolute liability” on the part of
                                   14            the cruise line for crew member assaults on passengers. Id. at 290. The plaintiff
                                                 conceded that she was “unable to show any negligence by [the defendant cruise
                                   15            line] in hiring or supervising” its crew member. Id. The district court
                                                 determined that the strict liability standard for assaults was ‘superseded or
                                   16            over-ruled by Kermarec.’
                                   17            Reversing, the Ninth Circuit determined that ‘Kermarec cannot be read to
                                                 overrule’ the maritime tort principle that a common carrier owes a duty to protect
                                   18            passengers from assaults by its crew members and is absolutely liable for such
                                                 assaults. Id. at 292. The Ninth Circuit noted that this absolute liability rule
                                   19            “for crew member assaults cannot be traced to obsolete concepts,” but that
                                                 “it is a widely adopted rule that common carriers owe such an absolute duty
                                   20            to their passengers.” Celebrity Cruises, 394 F.3d at 906 [emphasis added].
                                                 Now, USAG and Parilla are certain to argue that USAG is not a “common carrier,” but
                                   21
                                        that argument ignores that the lineage of the rule which derives from railroads, not ships, and is
                                   22
                                        actually quite broad.2 Here, just as common carriers do, USAG was in the business of
                                   23
                                        transporting its athletes across state lines to conduct its business. Indeed, it had heightened duties
                                   24
                                        to protect these athletes. Indeed, in making this common carrier analysis, the Court in Celebrity
                                   25
                                        Cruises noted: “[i]n both Brockett and Jopes, the Supreme Court spoke of common carrier
                                   26
                                   27   2
                                          “There is no doubt that the M/V Carnival is a common carrier and that many of the concerns
                                   28   that led to the establishment of this rule are present on ships as well as trains, taxi cabs and
                                        other carriers.” Morton v. De Oliveira, (9th Cir. 1993) 984 F.2d 289, 292 (emphasis added).
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                                    1   liability in general, and was unconcerned with whether the specific mode of transport was a ship

                                    2   or a train.” Id. at 906. Here, the sprawling nature of USAG must be put into the proper context.

                                    3   USAG is a federally chartered organization under the TSASA, which necessarily engages in

                                    4   interstate commerce and transport of these gymnasts (including to the 2012 Olympics in London,

                                    5   England). Compl., ¶20, Ex. “1”. There is no meaningful distinction between USAG’s

                                    6   transportation of Plaintiff across U.S. (including The Ranch) and internationally and that

                                    7   undertaken by traditional common carriers such as a cruise ship. Given that the Olympics are a

                                    8   global event and a gymnasts’ participation is essential, a reasonable interpretation is that

                                    9   USAG operates as a common carrier of its own athletes. Id. at ¶¶1-2,75. Moreover, its

                                   10   gymnasts have equal, if not more, compelling needs for protection, as they (1) are under the direct

                                   11   and sole control of USAG and their agents, just like a ship or train, and (2) these are minors
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                                   12   transported, largely without their parents, to these foreign jurisdictions to compete. Noting
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                                   13   USAG’s status as a “common carrier” does not rely upon a tortured interpretation of the law.

                                   14   Rather, “the ‘test’ of common carrier status relied upon here by Metro Ambulance is not defined

                                   15   by rigid criteria but a determination ‘depend[ing] upon the facts’ [citation omitted] for ‘[t]he

                                   16   courts do not seem to have been able to establish some simple test by which it can be determined

                                   17   ... whether a man is a common or a private carrier.’” Bricks v. Metro Ambulance Service, Inc. 177

                                   18   Ga.App. 62, 69 (Ga. Ct. App. 1985) (emphasis added). The D.C. Circuit analyzed a non-

                                   19   traditional common carrier:

                                   20          One may be a common carrier though the nature of the service rendered is
                                               sufficiently specialized as to be of possible use to only a fraction of the total
                                   21          population. And business may be turned away either because it is not of the type
                                               normally accepted or because the carrier's capacity has been exhausted. American
                                   22          Orient Exp. Ry. Co., LLC v. Surface Transp. Bd. 484 F.3d 554, 557 (D.C. 2007).
                                   23          Under Celebrity Cruises, there is no meaningful distinction between the traditional

                                   24   concept of a “common carrier” (a ship or train), when USAG acts in essentially the same

                                   25   capacity. As such, the case of Celebrity Cruises, in tandem with Morton, explain precisely why

                                   26   USAG is directly and strictly liable for the Plaintiff’s assaults under 18 U.S.C. § 2255.
                                   27          2. There are Facts that Exist and can be Pled Showing that USAG’s Agent, Debbie
                                                  Van Horn, “Aided and Abetted” Nassar’s Continued Sex Abuse.
                                   28

                                                                                        11
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                                    1          Defendants argue that neither traditional notions of agency (through Nassar’s status as an

                                    2   employee) nor strict liability hold USAG or Parilla responsible for Plaintiff’s damages. However,

                                    3   Doe v. Liberatore renders these additional legal theories unnecessary, as USAG and Parilla’s

                                    4   agent “aided and abetted” under the law, imputing actual knowledge onto USAG. Defendants

                                    5   USAG and Parilla cite to Doe v. Liberatore, 478 F.Supp.2d 742 (M.D. Pa. 2007), a case where

                                    6   civil damages under 18 U.S.C. Sec. 2255 arose against a Diocese through criminal aiding and

                                    7   abetting from the Diocese itself. There, the plaintiff had been abused by a priest years after the

                                    8   Diocese had received notice of a prior sexual incident resulting in a memo that expressed “serious

                                    9   concerns” regarding the priest’s behavior. Id. at 746-52. The court stated that “if the Diocesan

                                   10   Defendants criminally aided or abetted Liberatore in the commission of his sexual offenses, they

                                   11   may be held liable under section 2255.” Id. at 756. Since the filing of this action, former USAG
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                                   12   employee Debra Van Horn was charged criminally in Texas for child molestation, arising from
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                                   13   Nassar’s criminal actions, in addition to the allegations made about Van Horn in the Complaint.

                                   14   Compl., ¶10; Indictment of Van Horn, Exhibit “2” to Cunny Decl.; Cunny Decl, ¶3. These facts

                                   15   show that an official USAG agent, Van Horn who was working with Nassar during that time that

                                   16   Plaintiff was being molested, imputed actual knowledge to USAG and that she “facilitated” such,

                                   17   falling squarely into Liberatore’s exception. Doe v. Liberatore 478 F.Supp.2d at 756. Van Horn

                                   18   aided and abetted Nassar, thus, her conduct is imputable to USAG. Compl., ¶10, Ex. “1”.

                                   19   E.     CAUSE OF ACTION FOR INTENTIONAL INFLICTION OF EMOTIONAL
                                               DISTRESS (IIED) IS PROPER, VIA USAG AND PARILLA’S RECKLESS
                                   20          DISREGARD AND/OR EXTREME AND OUTRAGEOUS CONDUCT.
                                   21          A successful claim for intentional infliction of emotional distress (“IIED”) must establish:

                                   22   (1) extreme and outrageous conduct; (2) intent to cause, or reckless disregard to causing,

                                   23   emotional distress; (3) severe emotional distress; and (4) actual and proximate causation.

                                   24   Christensen v. Superior Court, (1991) 54 Cal.3d 868, 903. The conduct must also be “directed at”

                                   25   the Plaintiffs. Id. USAG and Parilla assert two arguments by which to exculpate themselves from

                                   26   responsibility for IIED, neither of which passes muster under California law. First, Defendants
                                   27   claim the Complaint does not “plead any facts that the alleged conduct of Mr. Parilla or USAG

                                   28   was extreme and outrageous.” Motion, 13: 12-14. First, it does. Defendants failed to report Nassar

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                                    1   to law enforcement timely. Compl., ¶¶55(g),57-58, Ex. “1”. No reasonable person would be

                                    2   expected to tolerate such extreme, callous conduct. Secondly, Defendants allege that the

                                    3   Complaint does not plead any facts demonstrating how USAG or Parilla’s outrageous conduct

                                    4   was “directed at” the plaintiff. Motion, 13: 22-24. Both will be addressed in turn.

                                    5          Ultimately, outrageousness is a question for the fact-finder. Plaintiff need only plead

                                    6   sufficient facts for notice. If Defendants allege this to be insufficient, then Summary Judgment is

                                    7   the appropriate stage at which to adjudicate this contention, not through a Motion to Dismiss.

                                    8   Nonetheless, Plaintiff maintains that sufficient facts are provided within her Complaint.

                                    9          1.      USAG and Parilla’s Contribution to the Sexual Abuse was Undertaken with
                                                       Reckless Disregard for Minors’ Safety, Independently Constituting IIED.
                                   10
                                               “[I]t is not essential to liability that a trier of fact find a malicious or evil purpose. It is
                                   11
                                        enough that defendant ‘devoted little or no thought’ to probable consequences of his conduct.”
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                                        KOVR-TV, Inc. v. Superior Court (1995) 31 Cal.App.4th 1023, 1031-32. The requirement of
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                                   13
                                        reckless conduct is satisfied by a showing that the defendant acted in reckless disregard of the
                                   14
                                        probability that the plaintiff would suffer emotional distress. Little v. Stuyvesant Life Insurance
                                   15
                                        Co. (1977) 67 Cal.App.3d 451, 462. In KOVR-TV, Inc., the Court held that there was sufficient
                                   16
                                        evidence for both “outrageous” prong of IIED, as well as the intent provision of IIED, when a
                                   17
                                        news reporter arrived at a crime scene, and interviewed next-door neighbors who were minors
                                   18
                                        with grisly, visceral questioning. KOVR-TV, Inc., 31 Cal.App.4th at 1027. The Court reasoned
                                   19
                                        that this conduct was sufficiently intentional, and/or reckless, to warrant a finding that the
                                   20
                                        “intent” element of an IIED claim was satisfied. Id.; Phyllis P., 183 Cal.App.3d 1193. Here, the
                                   21
                                        Plaintiff has pleaded that Defendants USAG and Parilla were apprised of overtly inappropriate,
                                   22
                                        disconcerting acts. However, USAG and Parilla maintained a callous indifference for the
                                   23
                                        Plaintiff’s well-being, doing nothing to curtail Nassar’s continued molestation and sexual abuse.
                                   24
                                        Under California law, reckless disregard is sufficient for a finding of IIED.
                                   25
                                               2.      Turning a Blind Eye and/or Allowing the Plaintiff to Endure Continued
                                   26                  Molestation and Sexual Abuse Is Unequivocally Extreme and Outrageous.
                                   27          “Conduct, to be outrageous, must be so extreme as to exceed all bounds of that usually

                                   28   tolerated in a civilized society.” Trerice v. Blue Cross of California, (1989) 209 Cal. App. 3d 878,

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                                    1   883. The outrageousness of defendant's conduct normally presents an issue of fact to be

                                    2   determined by the trier of fact. Angie M v. Superior Court, (1995) 37 Cal.App.4th 1217, 1226.

                                    3   Courts have held conduct may be determined to be outrageous by three alternative criteria: (1)

                                    4   abuses a relation or position which gives him power to damage the plaintiff's interest; (2)

                                    5   knows the plaintiff is susceptible to injuries through mental distress; or (3) acts intentionally

                                    6   or unreasonably with the recognition that the acts are likely to result in illness through mental

                                    7   distress.” Cole v. Fair Oaks Fire Protection Dist. (1987) 43 Cal.3d 148, 155, n. 7. In Phyllis P.,

                                    8   183 Cal.App.3d 1193, for instance, IIED claims have been allowed to proceed for the failure of

                                    9   childcare personnel to protect a minor while in school. Id. USAG and Parilla allowed Nassar to

                                   10   molest athletes under the auspices of “medical treatment,” maintain recurring private access to

                                   11   Plaintiff, and administer his “treatments” in secluded and unsupervised settings after gaining
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                                   12   knowledge of his inappropriate behavior. Compl., ¶¶1-2,37, Ex. “1”. Either failing to intervene
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                                   13   upon learning about the aforementioned risks or maintaining willful ignorance of such abuse is

                                   14   extreme and outrageous as a matter of law. Like Phyllis P., childcare institutions that do nothing

                                   15   to protect minors in their care, when abuse is suspected, act outrageously:

                                   16          In Johnson v. County of Los Angeles (1983) 143 Cal.App.3d 298 [191 Cal.Rptr.
                                               704], the court permitted recovery of damages for emotional distress occasioned
                                   17          by the defendant's failure to act, where the defendant stood in a special relationship
                                               to the plaintiffs, making the plaintiffs the foreseeable victims of defendant's
                                   18          nonfeasance. Phyllis P. v. Superior Court (1986) 183 Cal.App.3d 1193, 1195–96.
                                   19          Failing to administer their own policies makes Plaintiff a victim of Defendants’ disregard

                                   20   for her safety, given the inherent risks of minor gymnasts and USAG’s safety policies on point.
                                   21   Compl., ¶¶4,19-20,57. In failing to uphold the duties imbued within its “special relationship”,

                                   22   Defendants engaged in extreme and outrageous conduct, constituting IIED.

                                   23          3.      The Conduct of USAG and Parilla was “Directed At” the Plaintiff.
                                   24          USAG and Parilla argue that their conduct was not “directed at” the Plaintiff, claiming it

                                   25   thus falls short of the standard for an IIED claim. Motion, 13:8-12. In relevant part, they argue

                                   26   “[i]t is not enough that the conduct be intentional and outrageous. It must be conduct ‘directed at’
                                   27   the plaintiff, or occur in the presence of a plaintiff of whom the defendant is aware.” Christensen,

                                   28   54 Cal.3d at 903. In Phyllis P., a child (Ciera) was being molested by another child at school

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                                    1   (Dario). Phyllis P., 183 Cal.App.3d at 1195. The school psychologist and principal were informed

                                    2   that Dario was “playing games” with Ciera and chose not to tell Phyllis P. (Ciera’s mother); the

                                    3   abuse continued. Id. “Where reckless disregard of the plaintiff's interests is the theory of

                                    4   recovery, the presence of the plaintiff at the time the outrageous conduct occurs is recognized as

                                    5   the element establishing a higher degree of culpability which, in turn, justifies recovery of greater

                                    6   damages by a broader group of plaintiffs than allowed on a negligent infliction of emotional

                                    7   distress theory.” Christensen, 54 Cal.3d at 905–06. Thus, USAG and Parilla’s conduct indeed

                                    8   was “directed at” the Plaintiff, who was a minor in their care, provided mandatory medical care

                                    9   by their employee, and who Defendant USAG and Parilla knew or had ample reason to know was

                                   10   rampantly violating protocol and posing recurrent threats of harm to minors. Compl., ¶¶37,46,47-

                                   11   48,. As in Phyllis P., an organization conduct is “directed at” a minor when it knows they are at
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                                   12   risk of abuse but does nothing to further protect the child. As pled in the Complaint, Defendants
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                                   13   USAG and Parilla knew or had reason to know “of Nassar’s dangerous propensities to sexually

                                   14   abuse children, yet concealed and failed to disclose to Plaintiff [] this information.” Compl., ¶81,

                                   15   Ex. “1”. Either USAG and Parilla knew that Nassar rampantly violated the policies and

                                   16   procedures established by USAG for the express purpose of protecting minor athletes, or they

                                   17   simply conducted business as though the policies were superfluous. Either scenario creates risk of

                                   18   child molestation, and satisfies the “directed at” standard for an IIED claim.

                                   19   F.     THE B&PC § 17200 CAUSE OF ACTION IS PROPERLY PLED.
                                   20          USAG and Parilla attempt to manufacture limitations on B&PC § 17200 that do not
                                   21   comport with the intentionally broad language of the statute. “[U]nfair competition shall mean

                                   22   and include any unlawful, unfair or fraudulent business act or practice and unfair, deceptive,

                                   23   untrue or misleading advertising…” B&P Code, § 17200. An unfair business practice “offends an

                                   24   established public policy” or is “immoral, unethical, oppressive, unscrupulous or substantially

                                   25   injurious to consumers.” McDonald v. Coldwell Banker (9th Cir. 2008) 543 F.3d 498, 506.

                                   26   Whether a given course of conduct is a “business practice” under the statute is a factual inquiry,
                                   27   dependent on the circumstances of each case. Isuzu Motors, Ltd.v. Consumers Union of U.S.,

                                   28   Inc. (C.D. Cal. 1998) 12 F.Supp.2d 1034, 1048. A business “practice” can violate §17200 even

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                                    1   when it does not affect more than one “victim.” Allied Grape Growers v. Bronco Wine Co. (1988)

                                    2   203 Cal.App.3d 432, 453. A business practice can be found “unfair” even if it is “lawful” and not

                                    3   “deceptive.” Cel-Tech Communications, Inc. v. Los Angeles Cellular Telephone Co. (1999) 20

                                    4   Cal.4th 163, 180. The “unfair” standard within the statute is intentionally broad, further explained

                                    5   in Bank of the West v. Superior Court (1992) 2 Cal.4th 1254, 1266-67: “[t]he legislature intended

                                    6   this ‘sweeping language’ to include ‘anything that can properly be called a business practice and

                                    7   that at the same time is forbidden by law’” Id. The violation of an internal policy can constitute

                                    8   an “unfair” business practice, otherwise “…the only actionable conduct would be that which

                                    9   would otherwise be unlawful or give rise to an independent tort.” Smith v. Chase Mortg. Credit

                                   10   Group (E.D. Cal. 2009) 653 F.Supp.2d 1035, 1045–46 (emphasis added).

                                   11          Defendants’ conduct falls squarely within the scope of B&PC § 17200 by having “failed
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                                   12   to enforce their own rules and regulations designed to protect the health and safety of the
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                                   13   participants and members.” Motion, 21: 9-10. Then, USAG-President Colarossi’s letter from

                                   14   1999 noted that the safety procedures followed by USAG were part a “fundamentally flawed

                                   15   process” amidst an “apparent indifference to the welfare of young children manifest in the

                                   16   Committee’s actions.” Compl., ¶44; Exhibit A to Complaint. The letter acknowledges that

                                   17   Defendants knew of, or should have known of, the risks of abuse in the sport for child molestaiton

                                   18   before Nassar sexually abused Plaintiff, and knew of the probability that Nassar and others at

                                   19   USAG would molest minor athletes with whom they came into contact. Id. Acknowledgement by

                                   20   the USAG President that the USAG was violating its own policies meets the literal definition of
                                   21   an “unfair business practice” under Smith v. Chase.

                                   22          1.      BP&C § 17202 Provides for Injunctive Relief as a Remedy for “Unfair
                                                       Competition,” and Multiple Remedies are Available to the Plaintiff.
                                   23
                                               Defendants argue that non-injunctive relief—including restitution, disgorgement, and
                                   24
                                        attorney’s fees—are impermissible as a matter of law for a UCL cause of action. This is false.
                                   25
                                        “Notwithstanding Section 3369 of the Civil Code, specific or preventive relief may be granted to
                                   26
                                        enforce a penalty, forfeiture, or penal law in a case of unfair competition.” B&PC § 17202. “A
                                   27
                                        UCL action is equitable in nature, and the court may consider equitable factors in deciding
                                   28

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                                    1   which, if any, remedies authorized by the UCL should be awarded.” Olson v. Cohen (2003) 106

                                    2   Cal.App.4th 1209, 1214, as modified (Apr. 2, 2003), as modified (Apr. 9, 2003). “Because a court

                                    3   ‘may make such orders or judgments... as may be necessary to prevent the use or employment...

                                    4   of any practice which constitutes unfair competition... or as may be necessary to restore... money

                                    5   or property the “courts' discretion is very broad’ as to the remedy it awards.” Colgan v.

                                    6   Leatherman Tool Group, Inc. (2006) 135 Cal.App.4th 663, 695, as modified on denial of reh'g

                                    7   (Jan. 31, 2006). Thus, the claims for injunctive relief and other equitable remedies, made against

                                    8   USAG and Parilla and premised on the § 17200 claim, are proper and within the discretion of the

                                    9   Court to award, in order to remediate against these unfair business practices of USAG.

                                   10   G.     A CAUSE OF ACTION FOR BREACH OF FIDUCIARY DUTY IS PROPER.

                                   11          USAG and Parilla claim that the cause of action for Breach of Fiduciary Duty fails on the
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                                   12   alleged basis that there is no recognizable fiduciary duty between them and Plaintiff. Motion, 17:
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                                   13   23-25. However, while denying the presence of a fiduciary duty, Defendants note the

                                   14   fundamental obligations of such relationship: “(1) duty of loyalty, and (2) duty of

                                   15   confidentiality,” often in tandem with “one party control[ling] some interest of the other party.”

                                   16   Motion, 18: 5-7; Pierce v. Lyman, 1 Cal.App.4th 1093, 1102 (1991). However, these are

                                   17   obligations in the presence of such a duty, not premises for establishing the duty itself.

                                   18          In their attempt to refute the presence of a fiduciary relationship, Defendants claim that

                                   19   Plaintiff has “not properly alleged a fiduciary relationship with USAG or Mr. Parilla, [and thus]

                                   20   has not stated a claim for breach of fiduciary duty.” Motion, 17: 24-26. To this end, Defendants
                                   21   state that Plaintiff’s “Complaint conclusorily [sic] alleges that there was a ‘fiduciary

                                   22   relationship’… apparently based on a ‘special relationship’ between the parties.” Motion, 18: 15-

                                   23   17. Alleging the conflation of two relationships does not dismiss Plaintiff’s legal foundation for

                                   24   each. Defendants baldly assert that “a special relationship is not a fiduciary relationship, as a

                                   25   special relationship does not involve a duty of loyalty or confidentiality.” Motion, 18, 17-19. This

                                   26   is unsubstantiated. There clearly exists a fiduciary duty between Defendants and Plaintiff.
                                   27   Foremost, “[t]he essence of a fiduciary or confidential relationship is that the parties do not deal

                                   28   on equal terms, because the person in whom trust and confidence is reposed and who accepts that

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                                    1   trust and confidence is in a superior position to exert unique influence over the dependent party.”

                                    2   Barbara A. v. John G., (1983) 145 Cal.App.3d 369, 383. Defendants claim that “since there is no

                                    3   legal basis for the claim that a fiduciary relationship existed between plaintiff and USAG and/or

                                    4   Mr. Parilla, this Court should dismiss” Plaintiff’s claim. Motion, 19: 1-4. Defendants’ foundation

                                    5   for calling for dismissal is unduly narrow as a matter of law. Barbara A. notes that “[a]

                                    6   ‘confidential relationship’ may be founded on a moral, social, domestic, or merely personal

                                    7   relationship as well as on a legal relationship.” Id. Barbara A. expressly states that “the terms

                                    8   ‘fiduciary’ and ‘confidential’ are used synonymously to describe any relation existing between

                                    9   parties to a transaction wherein one of the parties is duty bound to act with the utmost good faith

                                   10   for the benefit of the other party. Barbara A. v. John G. (1983) 145 Cal.App.3d 369 [193

                                   11   Cal.Rptr. 422]. This unequivocally envelopes the relationship between USAG, Parilla, and
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                                   12   Plaintiff. To allege contrary is to allege that neither USAG nor Parilla had any duty “to act with
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                                   13   the utmost good faith for the benefit of the other party.” Id.

                                   14            Copeland v. Bank of America Servicing, 2014 WL 12696534, *5 (C.D. Cal. Nov. 14,

                                   15   2014) expressly notes that a fiduciary relationship “can [be] properly infer[red]” from facts

                                   16   supplied to the Court. Here, Plaintiff was a minor, entrusted into care of USAG and Parilla, and

                                   17   repeatedly transported across the planet for their financial gain, where she was repeatedly abused.

                                   18   Compl., ¶¶1-2,4,20,23, Ex. “1”. Duties of loyalty and confidentiality—as basic tenets of the in

                                   19   loco parentis3 role assumed by USAG and Parilla—can be inferred from such a relationship.

                                   20   H.       THE CONSTRUCTIVE FRAUD CAUSE OF ACTION IS PROPER.
                                   21            Defendants next claim there were no misstatements made to Plaintiff that constitute

                                   22   constructive fraud. Constructive fraud, as a cause of action, is “any breach of duty which, without

                                   23   an actually fraudulent intent, gains an advantage to the person in fault, or anyone claiming under

                                   24   him, by misleading another to his prejudice…” Civil Code § 1573. “Misstatement or suppression

                                   25   of facts is not fraudulent unless motivated by an intent to deceive… or unless it amounts to a

                                   26   breach of duty (§ 1573). The question of actual fraud is always one of fact.” Mesmer v. White,
                                   27

                                   28
                                        3
                                          This custodial relationship is known as “in loco parentis,” whereby an entity and its employees
                                        stand “in the place of the parents.” Black’s Law Dict. (3d. Pocket Ed. 1996), p.359, col.2.
                                                                                         18
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                                    1   (1953) 121 Cal. App. 2d 665, 671 [emphasis added]. Defendants cannot preclude a constructive

                                    2   fraud cause of action under the “misrepresentation” element if such has been sufficiently pled as

                                    3   it has here. Such is simply not the proper subject of a demurrer. Id.

                                    4          Critically, Defendants assert that “[s]ince plaintiff was never in a fiduciary relationship

                                    5   with USAG or Mr. Parilla, [and Defendants] cannot, as a matter of law, be liable under a cause of

                                    6   action for constructive fraud.” Motion, 20, 23-25. This, of course, presupposes the lack of a

                                    7   fiduciary or confidential relationship, which, as explored above, is not the case. (See Section

                                    8   III(H). “A constructive fraud arises on a breach of duty by one in a fiduciary relationship who

                                    9   misleads another to his prejudice.” Warren v. Merrill (2006) 143 Cal.App.4th 96, 109. Plaintiff

                                   10   was misled by Defendants about the safety while in the care and custody of USAG’s physicians,

                                   11   as well as Defendants’ concern for her safety and well-being while in their control.
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                                   12          Additionally, Defendants allege that heightened pleading standards apply to allegations of
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                                   13   fraud. FRCP Sec. 9(b). This is true. However, it is not true in the way, or to the extent, that

                                   14   Defendants suggest. “When averments of fraud are made, the circumstances constituting the

                                   15   alleged fraud must be specific enough to give defendants notice of the particular misconduct so

                                   16   that they can defend against the charge and not just deny that they have done anything wrong.”

                                   17   Vess v. Ciba-Geigy Corp. USA (9th Cir. 2003) 317 F.3d 1097. Plaintiff articulates the particular

                                   18   misrepresentation that resulted in her abuse with clarify and specificity: USAG and Parilla should

                                   19   not have “h[e]ld out Nassar… to the public, the community, minors, parents and law enforcement

                                   20   agencies as being in good standing and, trustworthy in keeping with him and his position as a
                                   21   team physician and authority figure.” FAC, 34: 20-22 (Par. 105(d)). Even more specific, Plaintiff

                                   22   alleges “[t]he misrepresentation[], suppression[] and concealment of facts by Defendants… [in]

                                   23   that there were no other charges, claims or investigations of unlawful or sexual misconduct

                                   24   against Nassar or others and that there was no need for them to take further action or precaution.”

                                   25   Compl., ¶¶108-112. “Fail[ing] to provide particulars of when, where, or how [an] alleged

                                   26   conspiracy” to defraud the plaintiff would fall short of the FRCP 9(b) pleading standards, not the
                                   27   specific causes of action pleaded by the Plaintiff. Vess v. Ciba-Geigy 317 F.3d at 1097. USAG

                                   28   and Parilla alleges that Plaintiff has not adequately alleged the breach. This is unfounded, as

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                                    1   Defendants ignore, again, the allegations within the Complaint. clearly alleged that Defendants

                                    2   USAG and Parilla knew or should have know that Nassar was engaging in sexual misconduct,

                                    3   breaching their duties to inform Plaintiff of clear threats to her well-being. Compl., ¶¶45-46.

                                    4   I.      THE NEGLIGENCE PER SE ALLEGATIONS ARE PROPER AGAINST USAG
                                                AND PARILLA.
                                    5
                                                USAG and Parilla claim that no institutions or entities are mandated reporters and, as
                                    6
                                        such, are not liable for the rampant unreported abuse in USAG. Motion, 21: 10-11. This is absurd,
                                    7
                                        as California law on the issue is directly contrary to this position, and this position evidences
                                    8
                                        precisely why Defendants USAG and Parilla averted their eyes to systemic abuse in USAG,
                                    9
                                        including the abuse from Nassar. Indeed, aside from stating summarily that USAG’s employees
                                   10
                                        were not mandated reporters, Defendants provide no substantive analysis. The law on mandated
                                   11
                                        reporting is indeed quite simple. Individuals who work with children are mandated to report
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                                        suspected child abuse. Penal Code § 11164, et seq. The Penal Code sets out who is a “Mandated
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                                   13
                                        Reporter.” P.C. § 11165.7. Mandated Reporters can be: “(6) An administrator of a public or
                                   14
                                        private day camp. (7) An administrator or employee of a public or private youth center, youth
                                   15
                                        recreation program, or youth organization, [or] (8) An administrator or employee of a public or
                                   16
                                        private organization whose duties require direct contact and supervision of children.” Id. at (b)(6)-
                                   17
                                        (8). Organizations that employ Mandated Reporters are:
                                   18
                                                “…strongly encouraged to provide their employees who are mandated reporters
                                   19           with training in the duties imposed by this article. …. Whether or not employers
                                                provide their employees with training in child abuse and neglect identification
                                   20           and reporting, the employers shall provide their employees who are
                                                mandated reporters with the statement required pursuant to subdivision (a)
                                   21           of Section 11166.5.” P.C. §11165.7(c) [Emphasis Added].
                                   22           There is no evidence that Defendants USAG or Parilla provided their employees with the

                                   23   required statement pursuant to Sec. 11166.5(a). Furthermore. the Penal Code §11166.5(a) defines

                                   24   the acknowledgement that must be given to such employees:

                                   25           “(a) On and after January 1, 1985, any mandated reporter as specified in Section
                                                11165.7, with the exception of child visitation monitors, prior to commencing
                                   26           his or her employment, and as a prerequisite to that employment, shall sign
                                                a statement on a form provided to him or her by his or her employer to the
                                   27           effect that he or she has knowledge of the provisions of Section 11166 and
                                                will comply with those provisions. The statement shall inform the employee
                                   28           that he or she is a mandated reporter and inform the employee of his or her

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                                    1          reporting obligations under Section 11166 and of his or her confidentiality
                                               rights under subdivision (d) of Section 11167. The employer shall provide a
                                    2          copy of [these sections] to the employee.” Id. [Emphasis Added].

                                    3          Employers, including institutions and entities, must provide their Mandated Reporter

                                    4   employees with the documentation described in § 11166.5 and maintain that documentation.

                                    5          Defendants further allege that “the plain language of the statute confirms that no

                                    6   institutions or entities are considered mandatory reports… [and that] the duty to report is an

                                    7   individual’s duty,” citing Penal Code § 11166(i)(1). Defendants conveniently omit the next line

                                    8   in Sec. 11666(i)(1) that puts this provision into context: “[t]he reporting duties under this section

                                    9   are individual, and no supervisor or administer may impede or inhibit the reporting duties,

                                   10   and no person making a report shall be subject to any sanction for making the report”

                                   11   (emphasis added). Thus, the “individual” nature of the duty means that an institution/entity may
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                                   12   not restrict a mandated report, and presupposes that the institution/entity assumes liability for
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                                   13   impeding or inhibiting such. Otherwise, Defendants’ interpretation would incentivize intentional

                                   14   “averting of the eyes,” endangering children, against the purpose of §11166.

                                   15      1. Plaintiff Pled Specific Facts Sufficient to Show Breach against Defendants USAG
                                              and Parilla for Negligence Per Se.
                                   16
                                               Defendants note that, pursuant to Bell Atl. Corp. v. Twombly, 550 U.S. 544, a plaintiff is
                                   17
                                        required to provide factual support for each allegation that rise above the “speculative level.”
                                   18
                                        Motion, 21: 14-16. Insofar as mandatory reporting is concerned under the Penal Code, Plaintiff
                                   19
                                        more than satisfies this burden. As noted above, at least as early as 1999—within the timeframe
                                   20
                                        of Plaintiff’s abuse—Defendant USAG and its Board, including Defendant Parilla, were aware of
                                   21
                                        the inadequacies of USAG safety policies and procedures, as detailed by a letter to the USOC by
                                   22
                                        then-USAG President Colarossi. Compl., ¶44; Exhibit A to Complaint. He noted that the safety
                                   23
                                        procedures followed by USAG were part a “fundamentally flawed process” amidst an “apparent
                                   24
                                        indifference to the welfare of young children manifest in the Committee’s actions.” Id. Further,
                                   25
                                        the Plaintiff expressly pleads that USAG’s agents, and Parilla are mandated reporters,
                                   26
                                        therefore, they individually have a duty to report. Id. at ¶21. However, the “apparent
                                   27
                                        indifference” brought to the direct attention of USAG and its Board, including Parilla, lead to
                                   28

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                                    1   zero reports to authorities. Id. at ¶¶47-48. These facts, on their face, are sufficient to show breach,

                                    2   as is required under California Evidence Code § 669. Each of the elements under § 669 are

                                    3   satisfied as failing to report violates a statute (Compl., ¶¶47-48) and not reporting the abuse

                                    4   caused injury to the Plaintiff (Id. at ¶¶1-2,47-48), the statute was intended, clearly, to protect

                                    5   children (Penal Code § 11166, et seq.) and the Plaintiff was, at the time, an individual who should

                                    6   have been protected by the statute. Compl., ¶¶1-2,4. Thus these breach allegations are sufficient.

                                    7   J.      THE NEGLIGENT FAILURE TO WARN, TRAIN, AND EDUCATE CAUSE OF
                                                ACTION IS PROPER.
                                    8
                                                Defendants allege that this cause of actions alleging failure to warn, train, or educate
                                    9
                                        employees lacks a cognizable legal theory to support it. Motion, 21: 22. However, the case law
                                   10
                                        behind such allegation is robust and clear. Tarasoff v. Regents of University of California (1976)
                                   11
                                        17 Cal.3d 425 delineates the basis for holding those liable for failure to warn of known dangers.
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                                        There, a psychiatrist was held liable for failing to warn a third party who her patient stated he
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                                   13
                                        intended to harm. Id. Similarly, Phyllis P. v. Superior Court (1986) 183 Cal.App.3d at 1196,
                                   14
                                        expounded that a school had a duty to warn a parent, when the school knew that another child had
                                   15
                                        been “playing games” with the minor victim. Id. at 1195. In Phyllis P., a minor was sexually
                                   16
                                        abused by another student. Id. Prior to the abuse, it was reported to the school psychologist that
                                   17
                                        the perpetrator was “playing games” with the victim, but this was not reported to the parents. Id.
                                   18
                                        In finding that the mother had a cause of action (the minor victim’s claims were uncontested), the
                                   19
                                        Court held that, “defendants did not properly supervise Dario and did not take the necessary steps
                                   20
                                        to insure Ciera's safety, nor did they notify petitioner who could have taken such steps herself.”
                                   21
                                        Id. at 1196 (emphasis added). “Defendants stood in loco parentis and owed a duty of care not
                                   22
                                        only to Ciera, but under the circumstances of this case, to Ciera's mother as well.” Id. at 1196
                                   23
                                                Defendants knew of, or should have known of, Nassar’s propensity and disposition to
                                   24
                                        engage in sexual misconduct with minors before he sexually abused Plaintiff, and knew of the
                                   25
                                        probability that Nassar would molest minor athletes with whom he came into contact. Compl.,
                                   26
                                        ¶¶45,47-48, Ex. “1”. Plaintiff also alleges that Nassar was repeatedly informally censured,
                                   27
                                        disciplined, and/or reprimanded by Defendants, for taking an inordinate number of photographs
                                   28

                                                                                         22
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                                    1   of young girls, who were gymnasts. Id. This conduct received no further investigation from

                                    2   USAG or Parilla, nor reporting to law enforcement or child welfare authorities, and, of course,

                                    3   never communicated to Plaintiff or her family. Id. As affirmed by Phyllis P., Defendants bore an

                                    4   affirmative duty to warn Plaintiff and train employees to do the same.

                                    5   K.     THE COMPLAINT ALLEGES FACTS CONSISTING OF “MALICE,”
                                               “OPPRESSION,” AND “FRAUD” THUS, PUNITIVE DAMAGES ARE PROPER.
                                    6          Defendants argue that punitive damages should be dismissed. Motion, 23: 1-8. However,
                                    7   “a plaintiff may recover punitive damages in an action for the breach of an obligation not arising
                                    8   out of contract where the defendant has been guilty of oppression, fraud, or malice. [Citation
                                    9   Omitted] ‘Malice’ exists when the defendant intends to cause injury to the plaintiff or the
                                   10   defendant engages in despicable conduct with willful and conscious disregard of the rights or
                                   11   safety of others. [citation omitted] ‘Oppression’ exists when the defendant in conscious disregard
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                                        of a person's rights engages in despicable conduct subjecting that person to cruel and unjust
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                                   13   hardship.” Angie M. v. Superior Court, (1995) 37 Cal. App. 4th 1217, 1227-28[Emphasis Added].
                                   14   “When the plaintiff alleges an intentional wrong, a prayer for exemplary damages may be
                                   15   supported by pleading that the wrong was committed willfully or with a design to injury.” G.D.
                                   16   Searle & Co. v. Sup. Ct, (1975) 49 Cal. App. 3d 22, 29, citing James v. Herbert, 149 Cal. App. 2d
                                   17   741, 750 (1957). When the plaintiff alleges a nondeliberate injury, “conscious disregard of safety
                                   18   (is) an appropriate description of the animus malus which may justify an exemplary damage
                                   19
                                        award…” Id.(emphasis in original). “Where, as here, the complaint pleads sufficient facts to
                                   20   apprise the defendant of the basis upon which relief is sought, and to permit the drawing of
                                   21   appropriate legal conclusions at trial, absence of the labels ‘wilful,’ ‘fraudulent,’ ‘malicious,’ and
                                   22   ‘oppressive’ from the complaint, does not defeat the claim for punitive damages.” Blegen v.
                                   23
                                        Superior Court, (1981) 125 Cal. App. 3d 959, 963 [emphasis added]. “Malice” is “despicable
                                   24   conduct which is carried on by the defendant with a willful and conscious disregard of the rights
                                   25   or safety of others.” C.C. §3294(c)(1). “Despicable conduct is conduct which is so vile, base,
                                   26   contemptible, miserable, wretched or loathsome that it would be looked down upon and despised
                                   27   by ordinary decent people.” Mock v. Michigan Millers Mutual Ins. Co., (1992) 4 Cal. App. 4th
                                   28   306, 331.
                                                                                         23
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                                    1          “Malice does not require actual intent to harm.” Angie M. v. Superior Court, (1955) 37

                                    2   Cal. App. 4th 1217, 1228[Emphasis Added]. “A conscious disregard for the safety of others

                                    3   may constitute the malice necessary to satisfy a claim for punitive damages.” Taylor v.

                                    4   Superior Court, (1979) 24 Cal. 3d 890, 895[Emphasis Added]. “In order to justify an award of

                                    5   punitive damages on that basis, the plaintiff must establish that the defendant was aware of the

                                    6   probably dangerous consequences of his conduct, and willfully and deliberately failed to avoid

                                    7   those consequences.” Blegen v. Superior Court, (1981) 125 Cal. App. 3d 959, 962-963.

                                    8   Repeatedly exposing children, and Plaintiff in particular, to a man who has a known propensity

                                    9   for sexual abuse, is exactly the “vile, base, contemptible, miserable, wretched or loathsome”

                                   10   conduct that “ordinary and decent people” would despise. Mock, 4 Cal.App.4th at 331. Further, in

                                   11   finding that an intoxicated driver who caused an injury, the court held that punitive damages were
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                                   12   appropriate. Taylor v. Superior Court of Los Angeles County, (1979) 24 Cal. 3d 890, 895-96. “We
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                                   13   concur with the Searle observation that a conscious disregard of the safety of others may

                                   14   constitute malice within the meaning of section 3294 of the Civil Code. C.C. § 3294… to justify

                                   15   an award of punitive damages on this basis, the plaintiff must establish that the defendant was

                                   16   aware of the probable dangerous consequences of his conduct, and that he willfully and

                                   17   deliberately failed to avoid those consequences.” Taylor, 24 Cal. 3d at 895-96. “As we have

                                   18   pointed out, it was established in this state… that a conscious disregard of safety and probable

                                   19   injury to others could constitute ‘malice’ within the meaning of that term as used in Civil Code

                                   20   section 3294.” Dawes v. Superior Court, (1980) 111 Cal. App. 3d 82, 91; Civil Code § 3294. The
                                   21   Plaintiff has demonstrated wanton and malicious conduct that was directed at her, based on

                                   22   USAG’s and Parilla’s failures to report, failures to respond to the epidemic of abuse in the sport,

                                   23   and concealment of information that would have permitted the Plaintiff to maintain for her own

                                   24   safety (in the event USAG and Parrilla were not going to do so). Compl., ¶¶21,46-48, Ex. “1”.

                                   25   Thus, as stated above, there are ample facts showing that the Plaintiff can maintain punitive

                                   26   damages claims.
                                   27   ///

                                   28   ///

                                                                                       24
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                                    7

                                    8

                                    9                              UNITED STATES DISTRICT COURT

                                   10                   NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE

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                                        ALEXANDRA ROSE RAISMAN, an                       Civil Case No. 5:18-cv-02479-BLF
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                                        individual.
                                   13
                                                     Plaintiff,                          [The Honorable Beth Labson Freeman]
                                   14
                                               v.                                 DECLARATION OF ALEX E. CUNNY IN
                                   15                                             SUPPORT OF PLAINTIFF ALEXANDRA
                                        UNITED STATES OLYMPIC COMMITTEE, ROSE RAISMAN’S OPPOSITION AND
                                   16   a Business Entity of form unknown; USA    OPPOSITION TO DEFENDANT USA
                                        GYMNASTICS, an Indiana Business Entity of GYMNASTICS’ AND PAUL PARILLA’S
                                   17   Form Unknown; LARRY NASSAR, an            CORRECTED MOTION TO DISMISS
                                        individual, STEVE PENNY, an individual,   PURSUANT TO FRCP 12(b)(6)
                                   18   PAUL PARRILLA, an individual, and DOES
                                        1 through 500.                            Hon. Judge Beth Labson Freeman
                                   19
                                                     Defendants.                         [Filed concurrently with Notice of Opposition]
                                   20
                                                                                         Complaint filed: February 28, 2018
                                   21

                                   22                                                    Judge:     Honorable Beth Labson Freeman
                                                                                         Courtroom: 6D
                                   23

                                   24
                                                                  DECLARATION OF ALEX E. CUNNY
                                   25
                                              I, ALEX E. CUNNY, hereby declare:
                                   26
                                              1.     I am an attorney duly licensed to practice law in the State of California. I am an
                                   27
                                        attorney with Manly, Stewart & Finaldi, attorneys of record for ALEXANDRA ROSE
                                   28
                                                                                     1
                                         DECLARATION OF ALEX E. CUNNY IN SUPPORT OF PLAINTIFF ALEXANDRA
                                        ROSE RAISMAN’S OPPOSITION TO USAG’S MOTION TO DISMISS PURSUANT TO
                                                                   FRCP 12(b)(6)
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                                                 County of Santa Clara
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                                                 Reviewed By: G. Reyes




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